Case 2:04-cv-02974-.]DT-STA Document 33 Filed 07/29/05 Page 1 of 2 Page|D 26

 

 

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Umted States Dlstrlct Court nw 50
WESTERN DISTRICT oF TENNESSEE rtr;»'zr{ "r ""4 ’“ §Q;)to %
Eastern Division ‘~"0""@‘;

`V.

- 735 __1_5`*,;'

   
 
 

JUDGMENT IN A CIVIL CASE

WILLlAM P. FAULKNER,
v.

GEORGE JONES, CASE NUN|BER: 1:04-2974-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 7/28/2005, the defendants motion for Summary Judgment
is GRANTED. lt is also CERT|FlED that any Appea| by plaintiff is not taken in good
faith and plaintiff must comply with the procedures set out in l\/chore and 1915(a)-(b) if
he wishes to take advantage of the installment procedures for paying the Appellate
Fi|ing Fee. lt is further ordered that this case is hereby D|SMISSED.

APPROVED:

JA ES D. ToDD
UN 'TED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

CLERK
`7/<9‘1,/05 BY: M C/@M'¢
DATE / DEPUTY CtLERK

This document entered on the docket sheet in compliance

with Ru|e 58 and/or 79(a) FRCP on 3 l a' l Q 5 . /)D?)

 

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This notice confirms a copy of the document docketed as number 33 in
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

